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                                           June 13, 2025

 VIA CM/ECF

 Honorable Margo K. Brodie
 U.S. District Court for the Eastern District of New York
 225 Cadman Plaza East, Room N626
 Brooklyn, NY 11201

        Re:     B & R Supermarket, Inc., et al. v. Visa, et al.,
                Case No. 1:17-cv-02738-MKB-JAM

 Dear Judge Brodie:

        We write on behalf of plaintiffs B & R Supermarket, Inc. (d/b/a Milam's Market), Grove
 Liquors LLC, Strouk Group LLC (d/b/a Monsieur Marcel), and Palero Food Corp. and Cagueyes
 Food Corp. (d/b/a Fine Fare Supermarket) (collectively, "Plaintiffs") to request an enlargement of
 the page limits for the memorandum in support of Plaintiffs' Motion for Preliminary Approval of
 Settlement with Discover Financial Services ("Discover") and American Express Company
 ("Amex") ("Motion").

         Plaintiffs have reached settlement agreements in this action with defendants Discover and
 Amex. The settlement agreements were reached separately and at different times. However, in
 the interest of efficiency and conservation of resources for the Court, the parties, and the class,
 Plaintiffs have elected to request preliminary approval of the settlement agreements in a single
 motion, rather than two separate motions at different times. Plaintiffs' Motion was served on the
 parties today. See Dkt. No. 972.

         Accordingly, in order to fully address both settlement agreements and provide the Court
 with all the relevant information for its consideration of the settlement agreements, Plaintiffs
 respectfully request leave to file a memorandum in support of the Motion of 47 pages.

       Plaintiffs can represent that Discover and Amex, the other parties to the settlement
 agreements, consent to this request.



                                                            Sincerely,

                                                            /s/ George C. Aguilar

                                                            George C. Aguilar
                                                            (admitted pro hac vice)
                                                            Attorney for Plaintiffs

 cc:   All Counsel of Record (via CM/ECF)
